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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT



   UNITED STATES                                             No. 3 :93CR199 (JCH)

             V.
                                                             USM No. 11609-014
   ALEXANDER LEON
                                                             Carly Levenson,
   Date of Original Judgment: 10/4/1994                      Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                          PURSUANT TO THE FIRST STEP ACT



        Upon motion of the defendant, pursuant to the First Step Act, Pub. L. 115-391, 132 Stat.

5194 (2018), it is ordered that the motion is granted and the defendant's previously imposed

sentence of imprisonment (as reflected in the last judgment issued) of     Life     months is

reduced to         Time Served . The defendant's term of supervised release is reduced from

_ _ _L_ifi_e__ years to -~4_ years with standard, mandatory, and special conditions, as

attached, imposed.

       Except as otherwise provided, all provisions of the judgment dated 10/4/1994 shall

remain in effect.

       So ordered.


Dated at New Haven, Connecticut, this 20th day of May 2019.




                                                              /s/Janet C. Hall
                                                             Janet C. Hall
                                                             UnitedStatesDistrict Judge
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SPECIAL CONDITIONS


1. The defendant shall submit his person, residence, office, or vehicle to a search, conducted by a United States Probation Officer, at
a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition
of release; failure to submit to a search may be grounds for revocation; the defendant must warn any other residents/occupants that the
premises/vehicle may be subject to search pursuant to this condition.



2. In lieu of Standard Condition #7, the defendant shall obtain and maintain employment or be engaged in educational/vocational
training at least 40 hours per week. If not employed full time and/or engaged in educational/vocational training at least 40 hours per
week, the defendant shall perform community service such that his employment, educational/vocational training and community
service combined, total at least 40 hours per week. Any community service shall be approved in advance and is subject to
confirmation by the Probation Office.

3. The defendant is permitted to travel between Connecticut and Rhode Island without prior approval of the Probation Office.
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                                                        CONDITIONS OF SUPERVISED RELEASE

 In addition to the Standard Conditions listed below, the following indicated (      • ) Mandatory Conditions are imposed :
                                                                MANDATORY CONDITIONS

 (1)       You must not commit another federal, state or local crime.

 (2)       You must not unlawfully possess a controlled substance.

 (3)      You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
 imprisonment and at least two periodic drug tests thereafter, as determined by the court.

           •  The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance abuse.
 (check if applicable)

 (4)       •  You must make restitution in accordance with 18 U.S.C.§§ 3663 and 3663A or any other statute authorizing a sentence of restitution .
 (check if applicable)

 (5)       •   You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

(6)        •  You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.) as directed by
the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which you reside, work, are a student, or were convicted of a
qualifying offense. (check if applicable)

(7)       •    You must participate in an approved program for domestic violence. (check if applicable)

                                                                 STANDARD CONDITIONS

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed because they
establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers to keep informed,
report to the court about, and bring about improvements in your conduct and condition.

I.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your release from
imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time frame.

II.       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and when you
must report to the probation officer, and you must report to the probation officer as instructed.

Ill.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the court or
the probation officer.

IV.        You must answer truthfully the questions asked by your probation officer.

V.         You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living arrangements
(such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying the probation officer in advance is
not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
change.

VI.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to take any
items prohibited by the conditions of your supervision that he or she observes in plain view.

VII.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from doing so. If
you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses you from doing so. If you plan to
change where you work or anything about your work (such as your position or your job responsibilities), you must notify the probation officer at least 10
days before the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify
the probation officer within 72 hours of becoming aware of a change or expected change.

VIII.      You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been convicted of a
felony, you must not knowingly communicate or interact with that person without first getting the permission of the probation officer.

IX.        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours .

X.        You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).

XI.         You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without first
getting the permission of the court.

XII.      You must follow the instructions of the probation officer related to the conditions of supervision .
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 Upon a finding of a violation of supervised release, I understand that the court may (1) revoke supervision and impose a
 term of imprisonment, (2) extend the term of supervision, and/or (3) modify the conditions of supervision.

 These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



(Signe
d)
          Defendant                                                            Date




          U.S. Probation Officer/Designated Witness                            Date




 CERTIFIED AS A TRUE COPY ON THIS DATE: _ _ _ _ _ _ __



 By: _ _ _ _ __ _ _ __

           Deputy Clerk




 RETURN

 I have executed this judgment as follows :

 Defendant delivered on _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _____ a _ __ _ _ _ _ __ __ __,
 with a certified copy of this judgment.




                                                                       Brian Taylor

                                                                       Acting United States Marshal

                                                              By

                                                                       Deputy Marshal
